Case 2:85-cv-04544-DMG-AGR Document 524 Filed 11/16/18 Page 1 of 13 Page ID
                                #:25876


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 15
 16                          UNITED STATES DISTRICT COURT

 17           CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
 18   JENNY LISETTE FLORES, et al.,            Case No. CV 85-4544-DMG (AGRx)
 19                   Plaintiffs,              REPLY TO OPPOSITION TO MOTION TO
                                               ENFORCE SETTLEMENT, FOR
 20         v.                                 PERMANENT INJUNCTION AND FOR
 21                                            ADJUDICATION OF CIVIL CONTEMPT
      MATTHEW G. WHITAKER, et al.,
 22                                            Hearing: November 30, 2018
                      Defendants.
 23                                            Time:    9:30 a.m.
                                               Room:    1st St. Courthouse
 24                                                     Courtroom 8C
 25
 26
 27
 28
Case 2:85-cv-04544-DMG-AGR Document 524 Filed 11/16/18 Page 2 of 13 Page ID
                                #:25877


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                                              ii      REPLY TO OPPOSITION TO MOTION TO ENFORCE
                                                                              SETTLEMENT, ETC.
                                                                  CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 524 Filed 11/16/18 Page 3 of 13 Page ID
                                #:25878


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                                              iii     REPLY TO OPPOSITION TO MOTION TO ENFORCE
                                                                              SETTLEMENT, ETC.
                                                                  CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 524 Filed 11/16/18 Page 4 of 13 Page ID
                                #:25879


  1   I.    INTRODUCTION
  2         This Court should order Defendants to continue complying with the Settlement
  3   notwithstanding their Proposed Rule and any final rule derived therefrom. Defendants
  4   nowhere deny that their Proposed Rule is materially inconsistent with the Settlement,
  5   nor do they dispute that the Administrative Procedure Act, 5 U.S.C. § 551 et seq.
  6   (“APA”) precludes them from adopting a final rule that is not substantially the same
  7   as the Proposed Rule.
  8         Defendants do not dispute that they have publicly denounced the Settlement
  9   repeatedly and vociferously as an impediment to border control; they likewise fail to
 10   answer Plaintiffs’ showing that the Proposed Rule’s raison d'être is to permit
 11   Defendants to do what this Court and the Ninth Circuit have repeatedly ruled they
 12   may not: namely, detain children indefinitely in secure, unlicensed facilities.
 13         Nor do Defendants deny that despite repeated entreaties, they even failed to
 14   commit to observing the 45-day waiting period Paragraph 40 of the Settlement
 15   requires before implementing a final rule and declaring the Settlement terminated.1
 16         Finally, apart from a boilerplate discussion of ripeness, Defendants fail to
 17   contest Plaintiffs’ showing that this Court may enjoin an anticipatory breach of the
 18   Settlement. Nowhere do Defendants refute Plaintiffs’ showing that their Proposed
 19   Rule constitutes an actionable anticipatory breach.
 20
 21
     On November 6, 2018, Defendants asked Plaintiffs to agree to continuing the
      1
 22 motion until December 21, 2018. Email between Sarah Fabian and Carlos Holguín,
 23 Nov. 6, 2018, Attachment A.
 24 Plaintiffs replied they would not object to the requested continuance so long as
    Defendants assured they would not implement a final regulation based on the
 25
    Proposed Rule for at least 45 days following publication of the final rule, or until
 26 after the Court rules on the present motion to enforce, whichever should occur later.
    Id.
 27
 28   Defendants never responded to Plaintiffs’ proposal and filed their opposition instead.
                                                                 MEMORANDUM IN SUPPORT OF MOTION FOR
                                                 1                      PERMANENT INJUNCTION, ETC.
                                                                          CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 524 Filed 11/16/18 Page 5 of 13 Page ID
                                #:25880


  1         Defendants nevertheless urge the Court to postpone the inevitable: that is, to
  2   delay declaring their Proposed Rule inconsistent with the Settlement—which it
  3   plainly is—and to delay enjoining Defendants against implementing final regulations
  4   that violate the Settlement. That, however, is a recipe for superfluous confusion and
  5   certain irreparable injury to class members. The Court is clearly empowered to enjoin
  6   Defendants’ anticipatory breach, and it should do so on the instant motion.
  7   II.   THE COURT SHOULD ENJOIN DEFENDANTS AGAINST IMPLEMENTING REGULATIONS
  8         THAT ARE INCONSISTENT WITH THE SETTLEMENT.

  9         In the main, Defendants oppose the instant motion on the theory it improperly
 10   seeks to “impede” their rulemaking prerogatives. Defs.’ Opp. at 2, (Doc. #521)
 11   (“Opp.”). It does not.
 12         First, Defendants agreed to exercise their rulemaking authority in conformance
 13   with the Settlement. The Court’s enforcing that agreement hardly infringes on
 14   Defendants’ lawful prerogatives. See, e.g., Citizens for a Better Environment v.
 15   Gorsuch, 718 F.2d 1117, 1128-29 (D.C. Cir. 1983) (“the requirements imposed by
 16   the [consent] Decree do not represent judicial intrusion into the Agency’s affairs to
 17   the same extent they would if the Decree were ‘a creature of judicial cloth.’”).2
 18         Second, nothing requires the Court to delay ruling on whether Defendants’
 19   Proposed Rule discharges their duties under the Settlement.
 20         In Ferrell v. Pierce, 560 F.Supp. 1344 (D. Ill. 1983), aff’d, 743 F.2d 454 (7th
 21   Cir. 1984), the district court disapproved proposed regulations of the Department of
 22   Housing and Urban Development (“HUD”) because they failed to comport with a
 23   binding settlement. Id. at 1361. The court found HUD’s failure to address conflicts
 24   between its proposed rule and the settlement an “anomalous or even ominous
 25
 26  Much the same answers Defendants’ argument that the Court’s enforcing the
      2

    Settlement’s rulemaking clauses somehow violates sovereign immunity and
 27 separation of powers. Opp. at 8 n.4. Even were those defenses valid, Defendants
 28 waived them when they voluntarily entered into the Settlement.
                                                 2             REPLY TO OPPOSITION TO MOTION TO ENFORCE
                                                                                       SETTLEMENT, ETC.
                                                                           CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 524 Filed 11/16/18 Page 6 of 13 Page ID
                                #:25881


  1   omission.” Id. 3 The court cited HUD’s “past conduct” as evidence it would excercise
  2   the discretion the proposed rule conferred to violate the settlement. Id. at 1365. The
  3   court accordingly enjoined HUD against implementing its proposed regulations. Id. at
  4   1372.
  5           Here, Plaintiffs seek to enforce the plain terms of the Settlement. The
  6   Settlement is a contract which Congress has twice preserved.4 The agreement remains
  7   binding until Defendants incorporate children’s substantive Settlement rights into
  8   federal regulations. Those regulations may “not be inconsistent” with and must
  9   “implement” the Settlement. Settlement ¶ 9; Stipulation Extending Settlement
 10   Agreement (Dec. 7, 2001).
 11           Defendants are therefore obligated to conform their rulemaking as agreed, yet
 12   their Proposed Rule manifests a resolve to do anything but implement the Settlement.
 13   Their opposition to the present motion, therefore, proposes the Court stay its hand on
 14   a hope and a wish that Defendants’ final regulations might actually implement the
 15   Settlement, rather than carry out Defendants’ determination to abrogate it. Given the
 16   explicit purpose of Defendants’ rulemaking and their many statements excoriating the
 17   Settlement as an impediment to border control, accepting Defendants’ position
 18   demands a copious measure of credulity. Nor, given Defendants’ many prior breaches
 19
 20
 21   In Ferrell HUD affirmatively moved the court to modify the settlement to conform
      3

    to its proposed rule. That Defendants here have elected to march unilaterally toward
 22 completing their anticipatory breach is even more “anomalous or even ominous” than
 23 was HUD’s approach in Ferrell. 560 F.Supp. at 1361.
 24  See Homeland Security Act of 2002, Pub. L. No. 107-296, 116 Stat. 2135 (“HSA”),
      4

    Trafficking Victims Protection Reauthorization Act, Pub L. No. 110-457, 122 Stat.
 25
    5044, codified in pertinent part at 8 U.S.C. § 1232 (“TVPRA”).
 26
    Defendants acknowledge that the HSA savings clause, 6 U.S.C. § 552(a), and its
 27 incorporation in the TVPRA, 8 U.S.C. § 1232(b)(1), maintained the Settlement in
 28 effect as a consent decree. Flores v. Sessions, 862 F.3d 863, 871 n.7 (9th Cir. 2017).
                                                  3             REPLY TO OPPOSITION TO MOTION TO ENFORCE
                                                                                        SETTLEMENT, ETC.
                                                                            CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 524 Filed 11/16/18 Page 7 of 13 Page ID
                                #:25882


  1   of the Settlement, is this action a tabula rasa permitting doubt over whether
  2   Defendants’ Proposed Rule will in fact spawn inconsistent final regulations.
  3         As the Court knows, since 2014 Defendants have repeatedly violated both of
  4   the Settlement’s fundamental requirements: (i) that they release children to reputable
  5   custodians without unnecessary delay; and (ii) that for howsoever long Defendants do
  6   detain children, they place them in facilities holding a state license to care for
  7   dependent, as opposed to delinquent, children.
  8         This Court and the Ninth Circuit have just as repeatedly rejected Defendants’
  9   arguments for violating these requirements. Order Re: Plaintiffs’ Motion to Enforce
 10   Settlement (July 24, 2015) (Doc. #177); Order Re: Response to Order to Show Cause
 11   (August 21, 2015) (Doc. #189); aff’d in relevant part, Flores v. Lynch, 828 F.3d 898
 12   (9th Cir. 2016); Order Granting Motion to Enforce (Jan. 20, 2017) (Doc. #318), aff’d,
 13   Flores v. Sessions, 862 F.3d 863 (9th Cir. 2017); Order Denying Ex Parte Application
 14   for Limited Relief from Settlement Agreement (July 9, 2018) (Doc. #455); Order Re:
 15   Plaintiffs’ Motion to Enforce (July 30, 2018) (Doc. #470). Defendants nevertheless
 16   continue to insist, without evidence, that they must jettison the Settlement for the
 17   greater cause of border control, this time by dint of rulemaking that itself breaches the
 18   Settlement. As in Ferrell, Defendants must own their past conduct.
 19         In any event, Plaintiffs here ask the Court to enjoin Defendants’ implementing
 20   regulations that violate the Settlement, not their rulemaking itself. See [Proposed]
 21   Order Enforcing Settlement, etc. (Nov. 2, 2018) (Doc. #516-1), at 1 (proposing that
 22   Defendants be “enjoined against implementing the Proposed Rule or its material
 23   equivalent.” (emphasis added)). So long as Defendants continue to abide by the
 24   Settlement, inconsistent regulations are beside the point.5
 25
 26
 27  For years, Defendants have had regulations on the books that conflict with the
      5

    Settlement. See 8 C.F.R. § 236.3 (2018) (restricting release to unrelated adults to
 28
    “unusual and compelling circumstances” and allowing placement of children “in any
                                                   4             REPLY TO OPPOSITION TO MOTION TO ENFORCE
                                                                                         SETTLEMENT, ETC.
                                                                             CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 524 Filed 11/16/18 Page 8 of 13 Page ID
                                #:25883


  1         But that is clearly not what Defendants have in mind. Their rulemaking instead
  2   aims expressly to abrogate class members’ Settlement rights and, indeed, repudiate
  3   the agreement in its entirety. There is no reasonable doubt that Defendants are
  4   determined to violate the Settlement in the very ways this Court and the Ninth Circuit
  5   have repeatedly ruled they may not.6
  6         If, contrary to their declared purpose, Defendants were to continue adhering to
  7   the Settlement despite having adopted inconsistent regulations, the Court’s enjoining
  8   implementation of those regulations could do them no harm. Melendres v. Arpaio,
  9   695 F.3d 990, 1002 (9th Cir. 2012) (“The Defendants cannot be harmed by an order
 10   enjoining an action they will not take.”). But Defendants are in no position to
 11   complain if they are taken at their word: they have promised they will violate the
 12   Settlement under the aegis of inconsistent regulations, and there is nothing
 13   precipitous about the Court’s enjoining them against doing so.
 14
 15
 16
    Service detention facility having separate accommodations for juveniles” without
 17 regard to licensing).
 18 Defendants have never contended that these regulations trump the Settlement; they
 19 clearly do not. See Settlement ¶ 9 (“This Agreement sets out nationwide policy for
    the detention, release, and treatment of minors in the custody of the INS and shall
 20 supersede all previous INS policies that are inconsistent with the terms of this
 21 Agreement.”).
 22  Moreover, as Plaintiffs established in their opening brief, at this point Defendants’
      6

    reconciling a final rule with the Settlement would run afoul of the APA’s limitations
 23
    on a final rule’s diverging fundamentally from its proposed version. See
 24 Memorandum in Support of Motion to Enforce Settlement, etc. (Nov. 21, 2018) (Doc.
    #516) at 17-18 (citing Envtl. Def. Ctr. v. U.S. Envtl. Protection Agency, 344 F.3d 832,
 25
    851 (9th Cir. 2003)).
 26
    Defendants’ conforming their final rule to the Settlement—which they have no intent
 27 of doing anyway—would require contorting the Proposed Rule far more than what
 28 the APA would allow.
                                                 5             REPLY TO OPPOSITION TO MOTION TO ENFORCE
                                                                                       SETTLEMENT, ETC.
                                                                           CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 524 Filed 11/16/18 Page 9 of 13 Page ID
                                #:25884


  1   III.   AN ANTICIPATORY BREACH IS RIPE FOR JUDICIAL REVIEW.
  2          Defendants do not contest Plaintiffs’ showing that the Proposed Rule in an
  3   actionable anticipatory breach. Instead, they argue that Plaintiffs’ challenge is not
  4   ripe until Defendants publish a final rule. Defendants ignore that the Settlement is a
  5   contract which the Court may enforce pursuant to standard contract law, including
  6   that of anticipatory breach.
  7          By its very nature, an “anticipatory breach satisfies prudential ripeness . . .”
  8   Perry Capital LLC v. Mnuchin, 864 F.3d 591, 632 (D.C. Cir.), cert. denied, _ U.S. _,
  9   138 S. Ct. 978 (2018) (citing Sys. Council EM-3 v. AT&T Corp., 159 F.3d 1376, 1383
 10   (D.C. Cir. 1998). “In other words, anticipatory breach is ‘a doctrine of
 11   accelerated ripeness’ because it ‘gives the plaintiff the option to have the law treat the
 12   promise to breach [or the act rendering performance impossible] as a breach
 13   itself.’” Homeland Training Ctr., LLC v. Summit Point Auto. Research Ctr., 594 F.3d
 14   285, 294 (4th Cir. 2010) (citing Franconia Assocs. v. United States, 536 U.S. 129,
 15   143 (2002)).
 16          Plaintiffs’ right to sue for anticipatory breach, therefore, does not hinge on
 17   Defendants’ completing their breach. Plaintiffs need only show that Defendants
 18   intend to repudiate the Settlement. Defendants’ Proposed Rule, public statements, and
 19   past conduct leave no doubt that they do. Defendants’ failure to contest Plaintiffs’
 20   showing that they are in anticipatory breach— likely because they have no plausible
 21   rebuttal to offer—waives opposition. Defendants’ authorities are plainly not to the
 22   contrary. 7
 23
 24
 25   None of the authorities Defendants cite involves a settlement: that is, a contract that
      7

    that may be enforced against anticipatory breach. See Ohio Forestry Ass’n, Inc. v.
 26
    Sierra Club, 523 U.S. 726 (1998) (challenge to federal land and resource
 27 management plan unconstrained by settlement or consent decree); Nevada v. Dep’t of
    Energy, 457 F.3d 78 (D.C. Cir. 2005) (no settlement at issue; APA challenge to
 28
    environmental impact statement); Am. Portland Cement All. v. E.P.A., 101 F.3d 772
                                                   6             REPLY TO OPPOSITION TO MOTION TO ENFORCE
                                                                                         SETTLEMENT, ETC.
                                                                             CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 524 Filed 11/16/18 Page 10 of 13 Page ID
                                #:25885


  1         There is no impediment to this Court’s adjudicating Defendants in anticipatory
  2   breach, and it should do so.8
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    (D.C. Cir. 1996) (same; challenge to EPA determination against regulating cement
 15 kiln dust as hazardous waste; ).
 16   In West Virginia v. EPA (In re Murray Energy Corp.), 788 F.3d 330 (D.C. Cir. 2015),
 17   the petitioners did not seek to enforce a settlement, but rather attacked an existing
      agreement between the EPA and several unrelated parties “hop[ing] to obtain a
 18   backdoor ruling from the Court that EPA lacks legal authority . . . to regulate carbon
 19   dioxide emissions from existing power plants.” Id. at 336. The settlement, however,
      “did not obligate EPA to issue a final rule restricting carbon dioxide emissions from
 20   existing power plants. It simply set a timeline for EPA to decide whether to do so.”
 21   Id. (emphasis in original).

 22 Here, of course, the Settlement does substantively constrain Defendants’ rulemaking;
    Plaintiffs are parties to the agreement, and as such, are entitled to enforce it against
 23
    anticipatory breach.
 24
      Should it be disposed to defer enjoining Defendants against implementing
      8
 25 inconsistent regulations until after publication of a final rule, Plaintiffs respectfully
 26 suggest the Court hold the instant motion in abeyance and order the parties to submit
    simultaneously and within one week of publication supplemental briefs discussing
 27 whether Defendants’ final rule cures their anticipatory breach. The motion could
 28 thereafter stand submitted.
                                                 7             REPLY TO OPPOSITION TO MOTION TO ENFORCE
                                                                                       SETTLEMENT, ETC.
                                                                           CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 524 Filed 11/16/18 Page 11 of 13 Page ID
                                #:25886


  1   IV.   CONCLUSION.
  2         For the foregoing reasons, the Court should grant this motion and enter an
  3   order as Plaintiffs propose.
  4
  5   Dated: November 16, 2018                CARLOS R. HOLGUÍN,
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 28
                                                8            REPLY TO OPPOSITION TO MOTION TO ENFORCE
                                                                                     SETTLEMENT, ETC.
                                                                         CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 524 Filed 11/16/18 Page 12 of 13 Page ID
                                #:25887




                      Attachment A
  Case 2:85-cv-04544-DMG-AGR Document 524 Filed 11/16/18 Page 13 of 13 Page ID
                                  #:25888

  From:    Carlos Holguín crholguin@centerforhumanrights.org
Subject:   Re: Flores Motion - Request for Extension
   Date:   November 6, 2018 at 1:15 PM
     To:   Fabian, Sarah B (CIV) Sarah.B.Fabian@usdoj.gov
    Cc:    Holly S Cooper hscooper@ucdavis.edu, Peter Schey pschey@centerforhumanrights.org, Flentje, August (CIV)
           August.Flentje@usdoj.gov


       Dear Sarah,

       Plaintiffs have no objection to your requested extension provided Defendants agree they will not implement a final
       regulation based on the Proposed Rule for at least 45 days following publication of the final rule, or else the Court’s
       disposition of the motion to enforce, etc., whichever should occur later.

       —
       Carlos Holguín
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        --
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           On Nov 6, 2018, at 12:55 PM, Fabian, Sarah B (CIV) <Sarah.B.Fabian@usdoj.gov> wrote:

           Peter, Carlos, and Holly:

           The government requires additional time to respond to your latest motion, and intends
           to seek an extension of the hearing date to allow for additional response time. We
           would like to ask to extend the hearing date to December 21. Please let me know asap
           if Plaintiffs will agree to our requested extension.

           Best,
           Sarah

           Sarah B. Fabian
           Senior Litigation Counsel
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